CRIMINAL COMPLAINT
(Electronically Submitted)

United States District Court

 

DISTRICT of ARIZONA

 

United States of America DOCKET NO.

¥.

 

Juan Carlos Gaxiola-Arredondo

YOB: 1986; Citizen of Mexico OSE 47 79d

 

 

Complaint for violation of Title 8, United States Code Sections 1326{a) and (b)(1)

 

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

On or about July 31, 2020, at or near Arivaca, in the District of Arizona, Juan Carlos Gaxiola-Arredondo, an alien,
entered, and was found in the United States of America after having been denied admission, excluded, deported, and
removed from the United States through Del Rio, Texas on June 13, 2017, and without obtaining the express consent
of the Attorney General or the Secretary of the Department of Homeland Security to reapply for admission thereto;
in violation of Title 8, United States Section 1326(a), enhanced by Title 8, United States Code, Section 1326(b)(1),
a felony.

 

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

Juan Carlos Gaxiola-Arredondo is a citizen of Mexico, On June 13, 2017, Juan Carlos Gaxiola-Arredondo
was lawfully denied admission, excluded, deported and removed from the United States through Del Rio, Texas. On
July 31, 2020, agents found Juan Carlos Gaxiola-Arredondo in the United States at or near Arivaca, Arizona,
without the proper immigration documents, Juan Carlos Gaxiola-Arredondo did not obtain the express consent
of the Attorney General or the Secretary of the Department of Homeland Security to re-apply. for admission to the
United States.

 

 

 

MATERIAL WITNESSES IN RELATION TO THE CHARGE:

 

 

DETENTION REQUESTED SIGNATURE OF COMPLAINANT (official title)
Being duly sworn, I declare that the foregoing is
LMG2/AIC OFFICIAL TITLE 7
AUTHORIZED AUSA A/Li /
HO SA /s/Liza Granoff (us) Border Patrol Agent
Andrew J. Carpenter

 

Sworn by telephone _x

 

 

SIGNATURE OF MAGISTRATE JUDGE” DATE

uN) . S.Q 0 August 3, 2020
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W See Federnt rules af Criminal Procedure Rules 3, 4.1, and 54

 
